Case: 2:22-cv-02028-ALM-EPD Doc #: 51 Filed: 06/28/24 Page: 1 of 1 PAGEID #: 998




                           IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

Yusuf Kalyango, Ph.D.,                         :
                                               :
               Plaintiff,                      :     Case No. 2:22-cv-02028
                                               :
       v.                                      :     Judge Algenon L. Marbley
                                               :
Ohio University, et.al.,                       :     Magistrate Judge Elizabeth Preston Deavers
                                               :
               Defendants.                     :

                           STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(A)(1)(ii), Plaintiff and Defendants hereto stipulate and agree

that the above matter is resolved between them and any claims which were brought, or which could

have been brought, by Plaintiff herein against Defendants are dismissed with prejudice. Each party

to bear their own costs and attorneys’ fees.

       The Court shall retain jurisdiction to enforce the terms of the parties’ settlement.

Respectfully submitted,

 BAKER, DUBLIKAR, BECK, WILEY &                     DAVE YOST (0056290)
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